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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                )
    In re:                                                      )        Chapter 11
                                                                )
    PGX HOLDINGS, INC., et al.,1                                )        Case No. 23-10718 (CTG)
                                                                )
                              Debtors.                          )        (Jointly Administered)
                                                                )

             THIRD SUPPLEMENTAL NOTICE OF DESIGNATION OF
         CERTAIN EXECUTORY CONTRACTS AND/OR UNEXPIRED LEASES
    AS “ASSUMED CONTRACTS” AND ASSUMPTION AND ASSIGNMENT THEREOF

            YOU ARE RECEIVING THIS NOTICE BECAUSE YOU
        OR ONE OF YOUR AFFILIATES IS A COUNTERPARTY TO AN
  EXECUTORY CONTRACT OR UNEXPIRED LEASE WITH ONE OR MORE OF
THE DEBTORS, INCLUDING AS SET FORTH ON EXHIBIT A ATTACHED HERETO.

         PLEASE TAKE NOTICE that, on June 6, 2023, PGX Holdings, Inc. and its debtor
affiliates, in the above-captioned chapter 11 cases (collectively, the “Debtors”) filed with the
United States Bankruptcy Court for the District of Delaware (the “Court”) a motion
[Docket No. 66] (the “Motion”)2 for the entry of an order (the “Bidding Procedures
Order”) approving, among other things, bidding procedures in connection with the sale of
substantially all of the Debtors’ assets, and on August 4, 2023, the Court entered the Bidding
Procedures Order [Docket No. 331].

        PLEASE TAKE FURTHER NOTICE that, on August 4, 2023, pursuant to the Bidding
Procedures Order, the Debtors filed and served the Notice to Contract Parties to Potentially
Assumed Executory Contracts and Unexpired Leases [Docket No. 336], which included a list of
potentially Assigned Contracts attached thereto as Exhibit A and which was supplemented with
certain subsequent notices filed by the Debtors. See Docket Nos. 455, 492, and 500.

       PLEASE TAKE FURTHER NOTICE that, on August 25, 2023, the Court entered orders
[Docket No. 422 and 423] (together, the “Sale Orders”) approving (i) the Debtors’ entry into and
performance under each of the Stalking Horse Agreements and authorizing the sale of substantially

1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are:      PGX Holdings, Inc. (2510); Credit Repair UK, Inc. (4798); Credit.com, Inc. (1580);
      Creditrepair.com Holdings, Inc. (7536); Creditrepair.com, Inc. (7680); eFolks Holdings, Inc. (5213);
      eFolks, LLC (5256); John C. Heath, Attorney At Law PC (8362); Progrexion ASG, Inc. (5153); Progrexion
      Holdings, Inc. (7123); Progrexion IP, Inc. (5179); Progrexion Marketing, Inc. (5073); and
      Progrexion Teleservices, Inc. (5110). The location of the Debtors’ service address for purposes of these
      chapter 11 cases is: 257 East 200 South, Suite 1200, Salt Lake City, Utah 84111.
2     Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Bidding
      Procedures Order or the Sale Orders, as applicable.
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all of the Debtors’ assets free and clear of all liens, claims, interest, and encumbrances and (ii) the
assumption by the Debtors and the assignment and sale to the Progrexion Purcahser or Lexington
Law Purchaser (as applicable, the “Purchaser”) of executory contracts and unexpired leases to be
designated by the Purchaser as “Assumed Contracts” pursuant to the Sale Orders, the Progrexion
APA, the Lexington Law APA, and sections 363 and 365 of the Bankruptcy Code, subject to, and
effective as of, the closing of the Sale Transactions (the date of the closing being the “Closing
Date”).

        PLEASE TAKE FURTHER NOTICE that, on September 23, 2023, the Debtors filed
that certain Notice of Designation of Certain Executory Contracts and/or Unexpired Leases as
“Assumed Contracts” and Assumption and Assignment Thereof [Docket No. 493]
(the “Designation Notice”), providing notice of the agreements to be assumed and assigned to the
Purchaser in accordance with the Sale Orders, the Progrexion APA, the Lexington Law APA, and
the approved contract designation process and upon the occurrence of the Closing Date, as
identified on Exhibit A attached thereto (such agreements, the “Assigned Contracts”) and which
was supplemented with certain subsequent notices filed by the Debtors. See Docket Nos. 501 and
685.

       PLEASE TAKE FURTHER NOTICE that, in accordance with the Sale Orders,
the Progrexion APA, the Lexington Law APA, and the approved contract designation process, the
Debtors hereby file and provide notice of additional agreement(s) to be assumed and assigned to
Purchaser as an Assigned Contract, as reflected in Exhibit A attached hereto (the “Supplemental
Assigned Contracts”).

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Sale Orders, the Progrexion
APA, and the Lexington Law APA, the Purchaser has determined that the Assigned Contracts
identified in the Designation Notice along with the Supplemental Assigned Contracts set
forth on Exhibit A attached hereto shall be assumed by the Debtors and assigned and sold to
Purchaser and shall be designated as “Assumed Contracts” within the meaning of the Sale
Orders, the Progrexion APA, and the Lexington Law APA, in each case subject to, and
effective as of, the Closing Date (unless such other date is mutually agreed upon by the Debtors,
the Purchaser, and the counterparty or counterparties to any such Contract). For the avoidance of
doubt, the Closing Date of each sale transaction occurred on September 28, 2023. See Docket No.
507.

       PLEASE TAKE FURTHER NOTICE that the Cure Amount for your Contract(s) shall
be as previously noticed to you and as approved by the Court pursuant to the Sale Orders or as
otherwise agreed upon by you and the Debtors and/or the Purchaser in writing except as indicated
otherwise on Exhibit A.
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        PLEASE TAKE FURTHER NOTICE that nothing herein (i) alters in any way the
prepetition nature of the Assigned Contracts or the validity, priority, or amount of any claims of a
counterparty to any Assigned Contracts against the Debtors that may arise under such Assigned
Contract, (ii) creates a postpetition contract or agreement, or (iii) elevates to administrative
expense priority any claims of a counterparty to any Assigned Contract against the Debtors that
may arise under such Assigned Contract.3



Dated: January 11, 2024
 Wilmington, Delaware

    /s/ Michael W. Yurkewicz
    KLEHR HARRISON HARVEY                                        KIRKLAND & ELLIS LLP
    BRANZBURG LLP                                                KIRKLAND & ELLIS INTERNATIONAL LLP
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    - and -                                                      Spencer Winters (admitted pro hac vice)
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    Co-Counsel to the Wind-Down Debtors                           Co-Counsel to the Wind-Down Debtors




3      The Debtors reserve all rights to modify the Assigned Contracts attached hereto as Exhibit A, in accordance with
       the terms of the Sale Orders, the Progrexion APA, and the Lexington Law APA.
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                                                        Exhibit A

                                   Third Supplemental – Assigned Contracts1


                                                                                                              Est. Cure
          Counterparty              Debtor                           Contract Description
                                                                                                              Amount
    1    SalesForce, Inc.    Progrexion ASG, Inc.     Order Form Q-08148126, dated January 11, 2024,            $0.00
                                                      and any agreements amended by such order form, in
                                                      each instance, relating solely to Marketing Cloud
                                                      services




1       The inclusion of a Contract on this list does not constitute an admission as to the executory or non-executory
        nature of the Contract, or as to the existence or validity of any claims held by the counterparty or counterparties
        to such Contract.
